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January 23, 2023

The Honorable Colleen Kollar-Kotelly
U.S. District Court Judge
United States District Court for the
District of Columbia
333 Constitution Avenue, NW
Washington, DC 20001

Dear Judge Kollar-Kotelly,

I am writing this letter concerning Barton Shively, who is scheduled to appear before you for sentencing. I have known
Bart since he was a small child. He was the grandson of our minister at First United Methodist Church in Mechanicsburg.
When he was very young, his grandparents moved across the street from my house and shortly after, he and his mother
moved in with them. He very much looked up to his grandmother, a sweet, kind and gentle woman. His mother
seemed unstable at times but his grandmother always looked out for Bart. Bart is probably ten yours older than my son,
but they have been friends since very early in my son’s (Garry’s) life. Garry moved in next door with his family and Bart
and Garry have remained friends.

My name is Natalie Keyser. As I mentioned, I live across the street from Bart in Mechanicsburg, PA. I just retired from
my job of 35 years as the Controller at Members 1st Federal Credit Union. I am a mother, a grandmother, a sister and I
have always considered myself to be a friend and neighbor of Bart.

Bart has always been a great neighbor. He has help many of the neighbors in this neighborhood. He played football for
the high school during his teen years. He was a consistent worker at his job, power washing building and windows. He
joined the Marines out of high school and he was proud of our country and his service for our country. He has had
several dogs and loved and adored them all and cared for them religiously. When considering turning himself in to the
police, his most urgent worry was for his beloved dogs. I consider Bart a kind, generous and good person.

I’m not sure why Bart became involved in this insurrection and I, personally hate that he found himself wrapped up in
this event. I feel like he got caught up in something he didn’t realize would go so wrong. He lost most of the people that
were influential in his life. His grandfather, grandmother and mother all passed, leaving Bart with only a sister, who
seemed to be busy with her own life. These losses seemed to leave him very lonely. He friended other that served in
the military and had several close friend but no real family connections.

Bart still talks with my son from time to time. Bart is very remorseful, embarrassed and sorry that he even participated
in this event. He was mislead about the purpose of the event and is ashamed if he hurt or frightened anyone.

I know Bart will have consequences for his actions but I ask that you consider his military service, his love for animals
and the kind, generous and helpful person that my family and I have always known Bart to be.

Humbly and Respectfully,



Natalie Keyser
